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 8                                  UNITED STATES DISTRICT COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
10                                       SAN FRANCISCO DIVISION
11   IN RE: CATHODE RAY TUBE (CRT)                          CASE NO.: 3:07-cv-05944-SC
     ANTITRUST LITIGATION
12                                                          MDL NO.: 1917
     ________________________________________
13                                                          Individual Case No. 3:13-cv-1173-SC
     This Document Relates To:
14                                                          [PROPOSED] ORDER DENYING
     Sharp Electronics Corp., et al. v. Hitachi, Ltd., et   SHARP’S ADMINISTRATIVE MOTION
15   al.                                                    TO CONFIRM ITS OPT-OUT REQUEST
                                                            OR, IN THE ALTERNATIVE, ENLARGE
16                                                          TIME FOR SHARP TO OPT OUT OF
                                                            CLASS SETTLEMENTS
17

18          The Court having considered the arguments and materials submitted by the parties, and the
19   papers on file in this case, it is hereby ORDERED that Sharp’s Motion is DENIED.
20          IT IS SO ORDERED.
21

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23   DATED: _____________, 2014
                                                    HON. SAMUEL CONTI
24                                                  UNITED STATES DISTRICT JUDGE
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     [PROPOSED] ORDER DENYING SHARP’S MOTION TO         1                                     MDL NO.: 1917
     ENLARGE THE OPT-OUT DEADLINE                                      INDIVIDUAL CASE NO.: 3:13-CV-1173-SC
